Case 2:10-cv-03633-ODW-RZ Document 632 Filed 06/29/16 Page 1 of 1 Page ID #:39410

                                                                                     FILED
                        UNITED STATES COURT OF APPEALS                               JUN 29 2016

                                                                               MOLLY C. DWYER, CLERK
                                FOR THE NINTH CIRCUIT                            U.S. COURT OF APPEALS




    DC COMICS,                                        Nos. 14-56926, 14-56994

          Plaintiff-Appellant/Cross-Appellee,         D.C. No. 2:10-cv-03633-ODW-RZ
                                                      Central District of California,
    v.                                                Los Angeles

    PACIFIC PICTURES CORPORATION;
    et al.,                                           ORDER

          Defendants-Appellees/
          Cross-Appellants.



          Pursuant to the stipulation (docket entry 23) of the parties, this appeal and

   cross-appeal are voluntarily dismissed with prejudice. Fed. R. App. P. 42(b).

   Costs and fees shall be allocated pursuant to the parties’ stipulation.

          A copy of this order sent to the district court shall act as and for the

   mandates of this court.

                                            For the Court:
                                            MOLLY C. DWYER
                                            Clerk of the Court

                                            Terri Haugen, Deputy Clerk
                                            9th Circuit Rules 27-7, 27-10



   Tah/6.27.16/Pro Mo
